904 F.2d 701Unpublished Disposition
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Monroe Crawford PARKER, Plaintiff-Appellant,v.Charles R. BREWER, United States Attorney;  State of NorthCarolina, Defendants-Appellees.
    No. 90-6306.
    United States Court of Appeals, Fourth Circuit.
    Submitted:  May 7, 1990.Decided:  May 24, 1990.
    
      Appeal from the United States District Court for the Western District of North Carolina, at Charlotte.  James B. McMillan, Senior District Judge.  (C/A No. 87-264-M).
      Monroe Crawford Parker, appellant pro se.
      W.D.N.C.
      DISMISSED.
      Before ERVIN, Chief Judge, and CHAPMAN and WILKINS, Circuit Judges.
      PER CURIAM:
    
    
      1
      Monroe Crawford Parker noted this appeal outside the 60-day appeal period established by Fed.R.App.P. 4(a)(1), and failed to move for an extension of the appeal period within the additional 30-day period provided by Fed.R.App.P. 4(a)(5).*   The time periods established by Fed.R.App.P. 4 are "mandatory and jurisdictional."   Browder v. Director, Dep't of Corrections, 434 U.S. 257, 264 (1978) (quoting United States v. Robinson, 361 U.S. 220, 229 (1960)).  Parker's failure to note a timely appeal or obtain an extension of the appeal period deprives this Court of jurisdiction to consider this case.  We therefore deny a certificate of probable cause to appeal and dismiss the appeal.  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    DISMISSED
    
      
        *
         Parker states he did not receive the final order of the district court until 42 days after the order was entered.  However, this delay is no basis to extend the appeal period.  See Fed.R.Crim.P. 49(c);  United States v. Schuchardt, 685 F.2d 901 (4th Cir.1982)
      
    
    